B27 (Oficial Form 27) (12/3)

UNITED STATES BANKRUPTCY COURT
District of OR

Inve SHERRY L GARBODEN, Debtor

Case No, 15-35133

ELBERT G GARBODEN

Chapter 7

REATFEIRMATION AGREEMENT COVER SHEET

This form must be completed in its entirety and filed, with the reaffirmation agreement attached,
within the time set under Rule 4008, It may be filed by any party to the reaffirmation agreement,

\, Credifor’s Name: Wells Fargo Bank N,A,, d/b/a Wells Fargo Dealer Services

2, Amount of the debt subject to this reaffirmation agreement:

$3,001.67 on the date of bankruptey $ 2,834.41

to be paid under reaffirmation agreement

3, Annual percentage rate of interest: Annual percentage rate of interest; 11.99% prior to
bankruptcy 11.99 % under reaffirmation agreement (_ X Fixed Rate Adjustable Rate)

4, Repayment terms (if fixed rate); $172.94 per month for 18 months

5, Collateral, ifany, securing the debt: Current market value: $ 3,575.00
Deseription: _1999 FORD TRUCK EXPEDITION. V8

6. Does the creditor assert that the debt is non-dischargeable? _

_. Yes X_ No

(lf yes, attach a declaration setting forth the nature of the debt and basis for the contention that the debt

is non-dischargeable

te p
Debtor’s Schedule Land J Bntries

7A, Total monthly income from $ 557 (,
Schedule [, line 12

8A. Total monthly expenses $0976
from Schedule J, line 22

9A. Total monthly payments on $ k

reaffirmed debts not listed on
Schedule J

Dost. 4 i pics
Debtor's Income and Expenses
as Stated on Reaffirmation Agreement

7B. Monthly income from all $ sf 7b

sources after payroll deductions

$_ 6S 2

8B. Monthly expenses

9B, Total monthly payments on $
reaffirmed debts not included in
monthly expenses

10B, Net monthly income $ L
(Subtract sum of lines 8B and 9B from
line 7B, If total is less than zero, put the
number in brackets.)

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lt, Explain with specificity any difference between the income amounts (7A and 7B);

a

Lo
ZL.

7

12. Explain with specificity any difference betweon the expense amounts (8A and 8B);

ZL.
/

If line 11 or12 is completed, the undersigned debtor, and joint debtor if applicable, certifies
that any explanation contained on those lines is true and correct,

Signature of Debtor (only-fequired if Signature of Joint-Bébtor (if applicable, and only
line 11 or 12 is comple ed) required if line 11] or 12 is completed)

Other Information

D Cheek this box if the total on line 10B is less than zero, If that number is less than zero, a
presumption of undue hardship arises (unless the creditor is a credit union) and you must explain with
specificity the sources of funds available to the Debtor fo make the monthly payments on the

reaffirmed debt:

Was debtor represented by counsel during ihe course of negotiating this reaffirmation agreement?
Yes No
XN

If debtor was represented by counsel during the course of negotiating this reaffirmation agreement, has
counsel executed a certification (affidavit or declaration) in support of the reaffirmation agreement?

Yes Kno

FELER’S CERTIMICATION**

I hereby certify that the attached agreement is a true and correct copy of the reaffirmation
agreement between the parties identified on this Reaffirmation Agreement Cover Sheet.

COVA LCR.

Signatur ~
Gabriela Nidorne ‘ \ i2\ie

Operations Processor
Print/fype Name & Signer’s Relation to Case

** The Creditor, or its Agent, completed Questions | - 6 on this form. The Debtor(s) completed the remaining questions on this
form. By signing this form, the Filer is only certifying: (1) that the alfached agreement is a true and correct copy of the
reaffirmation agreement between the parties; and (2) the information in Questions | -- 6. The Filer is not certifying the accuracy

of any information supplied by the Debtor(s),
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B240A/B ALT (Form 240A/B ALT) (Reaffirmation

Agreement) (12/11) [] Presumptton of Undue Hardship

[4b No Presumption of Undue Hardship
(Check box as direeted in Part D: Debtor's Statement
in Support of Reaffirmation Agreement.)

UNITED STATES BANKRUPTCY COURT
Distriet of OR

Ince SHERRY LGARBODEN, Debtor CaseNo. 15-35133

ELBERT G GARBODEN ‘Chapter 7

REAFFIRMATION AGREEMENT
[indicate all documents included in this filing by ehecking each applicable box.]

J Part A: Disclosures, Instructions, and Part D: Debtor's Statement in
Notice to Debtor (pages | - 5) Support of Reaffirmation Agreement
i Part B: Reaffirmation Agreement CJ Part &: Motlon for Court Approval

Part C: Certification by Debtor’s Attorney

[Note: Complete Part E only if debtor was not represented by an attorney during
the course of negotiating this agreement. Note alse: If you complete Part E, you must
prepare and file Form 240C ALT - Order on Reaffirmation Agreement]

Name of Creditor: Wells Fargo Bank NLA. d/b/a Wells Fargo Dealer Services

(1) [Cheek this box iff Creditor is a Credit Union as defined in §19(b)(1){a){iv) of the
Federal Reserve Act

PART A: DISCLOSURE STATEMENT, INSTRUCTIONS AND NOTICE TO DEBTOR
1, DISCLOSURE STATEMENT
Before Agreeing to Reaffirm a Debt, Review These dinportant Diselosnres:

SUMMARY OF REAFFIRMATION AGREEMENT
This Summary is made pursuant to the requirements of the Bankruptcy Code,

AMOUNT REAFFIRMED

The amount of debt you have agreed to reaffirm: $.2,834,41

The amount of debt you have agreed to reaffirm inciudes all fees and costs (if any) that have
acerued as of the date of this disclosure, Your credit agreement may obligaie you to pay additfonal
amounts which may cone due after the date of this disclosure. Consult your credit agreement,

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Form 240A/B ALT - Reaffirmation Agreement (Cont.) 2
ANNUAL PERCENTAGE RATE

{The anual percentage rate can be disclosed in different ways, depending on the type of debt]

-TF-the-debt-is-an-extension-of “credit” underan“eper-end-eredit-planasthose-terms
are-defined-in-$163-of the -Frnth-in-Lending Act_suelt-ns-oreditoard-the erediter muay-diselose
the-anaval-_percentage-vate-shewn-in-(i)-belew-oste-the-oxtent this rate-is-notreadily available er
notapplicable the sinple-inierestate-showtrirGi)-below, or beth:

G}—The-Annual-Pereentage Rate disclosed, or thatwveuld-have-beon-disclosed,te
the-debtor-in-the-mest-recent-periedio statement rierte-entoring into-the
cenffirmatien-agreement-deseribed-in-Patt B helew-orifne suk periedio
statement-was-given-te-the debtor during-the-prio-aixmonths the annual
percentage rate-as-itavould-have-peen-so-diselosed-at-the-time-ofthe diselesure
statement: ———_%;

—And/Op-—

Gi-Fhe simple interest-tate-applicable-to-the amountreaffirmed as-of the-date
this-disclosure-statementis- givero-the-debtor % lf different
simpie-interestrates ipphy-te-different balances ineluded-in-the-amount
reaffismed,-the-amount-oleaeh-balanee-andthe rate -applicable-te-it-are:

¢ fa Of
P ee 70;
te @ Of »
ae 70;
¢ (ap Of

ue 70

b. If the debt is an extension of credit other than under than an open end credit plan, the
creditor may disclose the annual percentage rate shown in (1) below, or, to the extent this rate is
not readily available or not applicable, the simple interest rate shown in (ii) below, or both.

(i) The Annual Percentage Rate under §128(a)(4) of the Truth in Lending Act, as
disclosed to the debtor in the most recent disclosure statement given to the debtor
prior to entering into the reaffirmation agreement with respect to the debt or, ifno
such disclosure statement was given to the debtor, the annual percentage rate as it

would have been so disclosed: _ 11.99 %.

--- And/Or ---
Gi}—The-simnple-interest-rate-appHeable-te the amount-+eaffirmed as-of the date
this-diselosure-statement-is- given te-the-debter 9%,_H different
sinpleinierestrates-npply-to-different- balances ineiuded-inthe-amount
reaffirmed;

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the-amountofeonch-batanes-and-tho-rate-appHeable-to-it-are:

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OS®

e-tHthesunderlying-debtiransactionwas-diselesed-as-e-variable-ratetransaction-on-the
smostrecent disclosure _piverunderthe-Frthin-bending-Act:

The-interestyate-on-yonnient-may-be-+-vatiable-interest-ratesvhioh-changes-fom
time-to-time,-so-thatthe annual percentage rate-diselosed-heremay-be-higher-or
Jewer;

d, If the reaffirmed debt is secured by a security interest or lien, which has not been
waived or determined to be void by a final order of the court, the following items or types of
items of the debtor’s goods or property remain subject to such security interest or lien in
connection with the debt or debts being reaffirmed in the reaffirmation agreement described in
Part B,

Tteim or Type of tem Original Purchase Price or Original Amount of Loan
$999 FORD TRUCK. EXPEDITION-¥8 $ 5,183.00

Optional---At the election of the creditor, a repayment schedule using one or a combination of
the following may be provided:

Repayment Schedule:

Your-first-paymentinthe amounteld ie-due-on (date) -butthe future
payment amonntinay-be-different-Consult-yourrenffirmation agreement or oredit- agreement, as
appleable-Please-refer-te-your ereditagresment

—Op—

Your-paymentachedule-will-ber Gaumber-paymentsinthe ameuntold

each; payable Grenthly, annually weekly; cte)-on-the (day}-ofeach
Gyeek,monthy ete. iess-altered tater by mutual ngreemont-in-welting,

ome OP

A reasonably specific description of the debtor's repayment obligations to the extent known by
the creditor or creditor's representative.

Your payment schedule will be 18 payments in monthly installments of $172.94 commencing on
12/11/2015 and continuing on the same day of cach succeeding month,

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2, INSTRUCTIONS AND NOTICE TO DEBTOR

Reaffirming a debt ls a serious financial decision, The law requires you to take certain
steps to make sure the decision is in your best interest, if these steps are not completed, the
reaffirmation agreement is not effective, even though you have signed it,

1. Read the disclosures in this Part A carefully. Consider the decision to reaffirm
carefully. Then, if you want to reaffirm, sign the reaffirmation agreemeni in Part B (or you may
use @ separate agreement you and your creditor agree on),

2, Complete and sign Part D and be sure you can afford to make the payments you are
agreeing to make and have received a copy of the disclosure statement and a completed and
signed reaffirmation agreement,

3, If you were represented by an attorney during the negotiation of your reaffirmation
agreement, the attorney must have signed the certification in Part C,

4, If you were not represented by an attorney during the negotiation of your reaffirmation
agreenient, you must have completed and signed Part E.

5. The original of this disclosure must be filed with the court by you or your creditor. fa
separate reaffirmation agreement (other than the one in Part B) has been signed, it must be
attached.

6, If the creditor is not a Credit Union and you were represented by an attorney during
the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes effective
upon filing with the court unless the reaffirmation is presumed to be an undue hardship as
explained in Part D, Ifthe creditor is a Credit Union and you were represented by an attorney
during the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes
effective upon filing with the court.

7, Ifyou were not represented by an attomey during the negotiation of your reaffirmation
agreement, it will not be effective unless the court approves it, The court will notify you and the
creditor of the hearing on your reaffirmation agreement, You must attend this hearing in
bankruptcy court where the judge will review your reaffirmation agreement. The bankruptcy
court must approve your reaffirmation agreement as consistent with your best interests, except
that no court approval is required if your reaffirmation agreement is for a consumer debt secured
by a mortgage, deed of trust, security deed, or other lien on your real property, like your home,

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Form 240A/B ALT - Reaffirmation Agreement (Cont,) 5
YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION AGREEMENT

You may rescind (cancel) your reaffirmation agreement at any time before the

bankruptcy court enters a discharge order, or before the expiration of the 60-day period that
begins on the date your reaffirmation agreement is filed with the court, whichever occurs later.
To rescind (cancel) your reaffirmation agreement, you must notify the creditor that your
reaffirmation agreement is rescinded (or canceled),

Trequently Asked Questions:

What are your obligations if you reaffirm the debt? A reaffirmed debt remains your

personal legal obligation. It is not discharged in your bankruptcy case, That means that if you
default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to
take your property or your wages. Otherwise, your obligations will be determined by the
reaffirmation agreement which may have changed the terms of the original agreement, For
example, if you are reaffirming an open end credit agreement, the creditor may be permitted by
that agreement or applicable law lo change the terms of that agreement in the future under

certain conditions,

Are you required to enter into a reaffirmation agreement by any law? No, you are not

required to reaffirm a debt by any law, Only agree to reaffirm a debt if it is in your best interest.
Be sure you can afford the payments you agree to make,

What if your creditor has a securily interest or lien? Your bankruptey discharge does not
eliminate any lien on your property, A ‘‘lien’’ is often referred to as a security interest, deed of

trust, mortgage or security deed, Even if you do not reaffirm and your personal labllity on the
debt is discharged, because of the lien your creditor may still have the right to take the property
securing the Hen if you do not pay the debt or default on it. Ifthe lien is on an item of personal
property that is exempt under your State’s law or that the trustee has abandoned, you may be
able to redeem the item rather than reaffirm the debt. To redeem, you must make a single
payment to the creditor equal to the amount of the allowed secured claim, as agreed by the

parties or determined by the court,

NOTE: When this disclosure refers to what a creditor ‘‘may’’ do, it does not use
the word “may’’ to give the creditor specific permission, The word “may”? is
used to fell you what might occur if the law permits the creditor to take the action.
If you have questions about your reaffirming a debt or what the law requires,
consult with the attorney who helped you negotiate this agreement reaffirming a
debt. If you don’t have an attomey helping you, the judge will explain the effect
of your reaffirming a debt when the hearing on the reaffirmation agreement is
held,

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PART B: REAFFIRMATION AGREEMENT,

I (we) agree to reaffirm the debts arising under the credit agreement described below.

1, Brief description of credit agreement:Retail Installment Contract in the original

amount of $5,183.00

Loan terms of $ 2,834.41 @ 11.99 % for $ 172,94 starting 12/11/2015
1999 FORD TRUCK EXPEDITION-V8 [FMPUI8L7XLB43832

2. Description of any changes to the credit agreement made as part of this reaffirmation

agreement! NONE

SIGNATURE(S):

Borrower:

“Ap bath Abn

(Print Name

OT
Date: af’

Co-borrower, if also reaffirming these debts:

(Pit Name)

(Signatug)

Date: Yoliec
ff?

Accepted by creditor:

Wells Fargo Bank N.A,, d/b/a Wells Fargo Dealer
Services

(Printed Name of Creditor)

P.O, Box 3569
Rancho Cucamonga, CA 91729

(Signatthg), iota Nidome
Operations Processor

(Printed Name and Title of Individual
Signing for Creditor)

Date of me ceeptance:

WeA\o

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PART C; CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY).

[To be filed only if the attorney represented the debtor during the course of negotiating
this agreement.]

Thereby certify that (1) this agreement représents a fully informed and voluntary
agreement by the debtor; (2) this agreement d nol impose an undue hardship on the debtor or
any dependent of the debtor; and (3) I have-fully advised the debtor of the legal effect and
consequences of this agreement and anydefault under this agreernent,

Ch [Check box, if applicable and the creditor is not a Credit Union.] A presumption of
undue hardship has been established with respect to this agreement, In my opinion, however, the
debtor is able to make the re

Printed Name of Debjér’s Attorney:

Signature 7 ors Attorney:
Date: __

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PART D: DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

[Read and complete sections 1 and 2, OR, if the creditor is a Credit Union and
the debtor is represented by an alforney, read section 3, Sign the appropriate
signature line(s) and date your signature, If you complete sections 1 and 2
and your income less monthly expenses does not leave enough to make the
payments under this reaffirmation agreement, check the box at he top of page
1 indicating “Presumption of Undue Hardship.” Otherwise, check the box at
the top of page 1 indicating “No Presumption of Undue Hardship” |

1. [ believe this reaffirmation agreement will not impose an undue hardship on my
dependents or me. I can afford to make the payments on the reaffirmed debt because my
monthly income (take home pay plus any other income received) is$_S'S 74, and my actual
current monthly expenses including monthly payments on post-bankruptcy debt and other
reaffirmation agreements total $_ Sot, leaving $_{2f to make the required payments
on this reaffirmed debt,

I understand that if my income less my monthly expenses does not leave enough to
make the payments, this reaffirmation agreement is presumed to be an undue hardship on me
and inust be reviewed by the court, However, this presumption may be overcome if T explain
to the satisfaction of the court how I can afford to make the payments here: — 71 &7

£ d/é, foc be cn ft lt, OB PRAT Le
40 ave othe VI AX

(Use an additional page if needed for a full explanation.)

2. Lreceived a copy of the Reaffirmation Disclosure Statement in Part A and a

completed and signed reaffirmation agreement--—
Signed: Qe

OOM, ed

(Joint Debtgr, if any)
Date:

[if the creditor is a Credit Union andthe debloras represented by an attorney}

3. I belteve this reaffirmation agreement js‘in my financial interest, 1 can afford to
make the payments on the reaffirmed debt. L re€cived a copy of the Reaffirmation Disclosure
Statement in Part A and a completed and signed reaffirmation agreement,

Signed: ZL.

ie —— 06
Nod Glo _f
ate: (Joint hy if al

Case Number: 15-35433

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PART E: MOTION FOR COURT APPROVAL
[To be completed and filed onty if the debtor ts not represented by an attorney during the
course of negotiating this agreement]

MOTION FOR COURT APPROVAL OF REAIFIRMATION AGREEMENT
I (ve), the debtor(s), affirm the following to be true and correct:
Tam not represented by an attorney in connection with this reaffirmation agreement.
I believe this reaffirmation agreement is in my best interest based on the income and
expenses I have disclosed in my Statement in Support of this reaffirmation agreement, and

because (provide any additional relevant reasons the court should consider):

Therefore, I ask the court for an order approving this reaffirmation agreement under
the following provisions (c/ieck all applicable boxes):

11 U.S.C, § 524{¢)(6) (debtor is not represented by an attorney during the
use of the negotiation of the reaffirmation agreement)

C) if U.S.C, § 5240) (presumption of undue hardship has srisen because
monthly expenses exceed monthly income)

Signed: LPQya
Debiey My ) a

(Joint Debtor fif anny)

Date: AYU

>

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